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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 NETLIST, INC.,                                 §
                                                §
                Plaintiff,                      §
                                                §
 v.                                             §   CIVIL ACTION NO. 2:22-CV-00293-JRG
                                                §                (Lead Case)
 SAMSUNG ELECTRONICS CO, LTD, et                §
 al.                                            §
                                                §
                Defendants.                     §


 NETLIST, INC.,                                 §
                                                §
                Plaintiff,                      §
                                                §
 v.                                             §   CIVIL ACTION NO. 2:22-CV-00294-JRG
                                                §
 MICRON TECHNOLOGY, INC., et al.                §
                                                §
                Defendants.                     §
                                                §


                                            ORDER

       Before the Court is Defendants Micron Technology, Inc., Micron Semiconductor Products,

Inc., and Micron Technology Texas LLC’s (collectively, “Micron”) Unopposed Motion to

Withdraw as Attorney Vivek K. Krishnan (Dkt. No. 328.), wherein Micron moves for an order

withdrawing Vivek K. Krishnan as counsel of record for Micron. Having considered the Motion,

the Court is of the opinion that it should be and hereby is GRANTED.

       It is therefore ORDERED that Vivek K. Krishnan is permitted to withdraw as counsel of

record for Micron in the above-captioned case. The Clerk of Court is directed to terminate ECF

notifications to the aforementioned attorney.
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    So ORDERED and SIGNED this 12th day of January, 2024.




                                             ____________________________________
                                             RODNEY GILSTRAP
                                             UNITED STATES DISTRICT JUDGE




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